         Case 2:19-cv-00948-RGK-E Document 4 Filed 02/07/19 Page 1 of 1 Page ID #:14
2 AO 121 (6/90)
TO:

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PLAINTIFF                                                                         DEFENDANT
CHARLYN ZLOTNIK                                                                   MOMENTUM MEDIA, LLC; et al.




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1 VA 804-358                     The Year In Music - 1979                                                       Charlyn Zlotnik

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    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                WRITTEN OPINION ATTACHED                                        DATE RENDERED

            G Order        G Judgment                                     G Yes        G No

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